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                                   3                                 UNITED STATES DISTRICT COURT
                                   4                                NORTHERN DISTRICT OF CALIFORNIA
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                                   6     BRIAN BEST,                                        CASE NO. 4:19-cv-2252-YGR
                                   7                   Plaintiff,                           ORDER DENYING SECOND MOTION FOR
                                                                                            RECONSIDERATION
                                   8             vs.

                                   9     VIRGIL SMITH                                       Dkt. No. 234
                                  10                   Defendant.

                                  11          Pending before the Court is plaintiff Brian Best’s Second Motion for Reconsideration.
                                  12   (Dkt. No. 234.)
Northern District of California
 United States District Court




                                  13          The motion largely attempts to relitigate issues already decided. (See Dkt Nos. 205, 206.)
                                  14   The only new argument that plaintiff raises is the timeliness of his first motion for reconsideration
                                  15   under Rule 59(e). Even liberally construing and accepting plaintiff’s reasons for missing the 28-
                                  16   day deadline under Rule 59(e), plaintiff fails to establish that relief is warranted under Rule 59(e)
                                  17   because plaintiff merely rehashes prior arguments. Rule 59(e) “may not be used to relitigate old
                                  18   matters, or to raise arguments or present evidence that could have been raised prior to the entry of
                                  19   judgment.” Exxon Shipping Co. v. Baker, 554 U.S. 471, 485 n.5 (2008) (citation omitted).
                                  20   Therefore, the motion is DENIED.
                                  21          Again, plaintiff is warned that further frivolous filings may be summarily denied and

                                  22   result in the termination of his ECF privileges without further notice. Indeed, he has been

                                  23   warned two times that improper filings may result in termination of his ECF privileges. (Dkt.

                                  24   Nos. 223 & 233.)

                                  25          This Order terminates Docket No. 234.

                                  26          IT IS SO ORDERED.
                                       Dated: October 25, 2022
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                                  28                                                            YVONNE GONZALEZ ROGERS
                                                                                           UNITED STATES DISTRICT COURT JUDGE
